                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
v.                                          )       Case No. 4:13-CR-00291-07-BCW
                                            )
WILLIAM F. PARRY,                           )
                                            )
                      Defendant.            )

                                           ORDER

       Before the Court is Magistrate Judge Sarah W. Hays’ Report and Recommendation (Doc.

#271) denying Defendant William F. Parry’s Motion to Suppress (Doc. #198). After an

independent review of the record, the applicable law, and the parties’ arguments, the Court

adopts Magistrate Judge Hays’ findings of fact and conclusions of law. Accordingly, it is hereby

       ORDERED for the reasons stated in the Report and Recommendation (Doc. #271),

William F. Parry’s Motion to Suppress (Doc. #198) is DENIED. It is further

       ORDERED that Magistrate Judge Hays’ Report and Recommendation be attached to and

made part of this Order.

       IT IS SO ORDERED.

DATED: February 10, 2015                            /s/ Brian C. Wimes
                                                    JUDGE BRIAN C. WIMES
                                                    UNITED STATES DISTRICT COURT




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